
In re Whitmore, Kenny Wayne; — Plaintiff; Applying for Supervisory and/or Remedial Writs, Parish of E. Baton Rouge, 19th Judicial District Court, Div. I, No. 5-75-8614; to the Court of Appeal, First Circuit, No. 00 KW 1889.
Relator represents that the district court has failed to act timely on an application for post conviction relief in case number 5-75-8614-1 he filed on or about September 7, 1999. If relator’s representation is correct, the district court is ordered to consider and act on the application. If relator’s representation is incorrect, the district court is ordered to accept, file, and act upon the pleading which is herewith transferred to the district court. The district court is ordered to provide this Court with a copy of its judgment.
